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JN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
IN AND FOR ORANGE COUNTY FLORID

 

 

 

- CIVIL DIVISION TIME:
ANDRE JONES, pate:_ 6 LU/IF
SERVER, UWL
Plaintiff, ;
v. . IDs: Weal
. CASE NO.: 2017-CA-006/70-0
ALCLEAR, LLC d/b/a CLEAR
Defendant,
/
U .
THE.STATE OF FLORIDA:

TO ALL AND SINGULAR SHERIFFS OF SAID STATE:

       
 

You are hereby commanded to serve, laint in the above styled

cause upon the Registered A: or ALCLEAR LLC d/b/a CLEAR

  

 

Registered Agent :
Corporation Service Company
1201 Hays Street
Tallahassee, FL 32301

The Defendant is. hereby required to serve written defenses to said complaint on Plaintiff's attorney,.
whose name:and addréss is:,

MARC R. EDELMAN, ESQ.
Morgan & Morgan, P.A,

201 N. Franklin Street; #700
Tampa, FL 33602
813-577-4722

within 20 days after service of this Summons upon that Defendant, exclusive of the day of service, and tofile-
the original of said written defenses with the Clerk of said.Court either before service-on Plaintiff's attorney
or immediately thereaften If'a Deféndant fails to do so, a default, will be entered against the.Defendant for
‘the relief demanded in the Complaint. .

Tiffany Moore Russell

Poas rk of the CrditshaxGreene

S 2017.08.04 07:33:07 -04'00'
(SEAL) Deputy Clerk

Civil Division

425 N. Orange Avenue

Room 310
Orlando, Florida 3280i

  

 

EXHIBIT

a: a
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Filing # 59471782 E-Filed 07/25/2017 12:42:38 PM

IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
IN AND FOR ORANGE COUNTY FLORIDA

CIVIL DIVISION

ANDRE JONES,

Plaintiff,
Y..

CASE NO.:

ALCLEAR, LLC d/b/a CLEAR

Defendant.

/

 

Plaintiff, ANDRE JONES, (hereinafter “Jones” or “Plaintiff’), by and thiougli the.
undersigned counsel, sues Defendant ALCLEAR, LLC, (hereinafter “Deferidant”) and in support
thereof alleges:

INTRODUCTION

1, Alclear LLC d/b/a CLEAR (“Defendant”) is a private company providing pre-.
chetk screening services to -airports throughout the United States, including Orlando
International Airport,

2. Defendant has direct control oyer whether passengers passirig through their
security lines are “screened” to government standards. In today’s climate, Defendant plays a key
role in-airplane sécurity.

3. The Transportation Security Administration (“TSA”) dictates the standards fot
passenger screening, including the policies and procedures Defendarit must follow to ensute
terrorists. do not get onto airplanes,

4. In this case, Defendant disregarded its legal and ethical duty to the American
public by blatantly disregarding TSA’s security directives.

5. Jones reported security breacties to the highest levels of Defendant’s management
and cooperated in a TSA investigation into Defendant’s practices. Defendant ignored Jones’
pleas for compliance ahd disregarded TSA’s directives, jeopardizing security at Orlando
International Airport (“MCO”), one of America’s largest airports.

6. Plaintiff brisigs this, lawsuit to Hold Defendant accountable for its unlawful
conduct,
JURISDICTION AND VENUE

 

7. This is an action pursuant to the Florida Private Whistleblower’s Act, Section
448,102, Florida Statutes, for damages exceeding Fifteen Thousand Dollars ($15,000) exclusive
of attorneys’ fees and costs,

8. Jurisdiction and venue for purposes of: this. action are appropriate and conferred by
Florida Statutes.

9. All violations alleged in the Complaint occurred in Orange County, Florida.

10. ‘Plaintiff is d.citizen of the State of Florida and was employed in Orange County,
Florida.

ll, Defendant, a for profit company, operating in Orange County, Florida providing
pre-screening services that allow passengers to use Defendant’s security lines to board airplanes.

12. Defendant touts itselfas being able to help its customers, i.e. airline passengers,
“beat the line” for airport security.

13. Defendant charges its customers. a tnonthly fee, for which customers can “travel
.on your time knowing that waiting in security lines is’a thitig of the past.”

14, The TSA dictates security procedures and protocol. Pursuant to 49 C.F.R. § 1542, °
private-companies must submit:an Airport Security Program (“ASP”) to TSA, abide by the ASP
and follow TSA directives related thereto.

15. Jones was hired in October 2014 as the General Manager overseeing Defendant's
operations at the Orlando Intetnational Airport, As General Manager, Jones was tagked with —
ensuring Defendant’s passenger verification and ASP complied with TSA and MCO regulations,

policies and procedures.

16. By all accounts, Jones was successful in his role. He received strorig performance
‘teviews, exceeded the goals that were set for him and received multiple bonuses.

17. Shortly after assuming the General Manager’s role, Jones observed employees
violating security. protocol, thereby permitting unauthorized passengers through Defendant's
security checkpoints. Jones reported his observations and concems to his superiors, including
Defendant’s officérs.

18. Throughout the duration of his employment, Jones attempted to enforce
compliance with TSA's requirements, both with his subordinates and with Defendant’s upper’
management. Jones frequently met resistance at every level.

19. TSA repeatedly observed Defendant’s employees violating security procedures,
permitting unauthorized passerigers through the CLEAR security lines. When TSA informed,
Jones of the violations, Jones reported the incidents to Defendant's upper management, In thany
cases, Defendant’s officers discounted or disregarded TSA’s instructions.

20. As part of'the security process, Defendant’s employees scan passengers’ boarding
passes. If the result is green, the passenger has “cleared” and is permitted to proceed. If the
result is red, the ‘passenger is not authorized ‘to proceed through Defendant's security line since

they are “unverified.” In such cases, Defendant’s employees are required to escort. the passenger
to the TSA station for further processing.1

21, On March 23-24, 2015 Mr. Parker Bellaire, TSA Assistant Federal Security
Director for Inspections, observed Defendant's employees performing manual overrides,
permitting utverified passengers to proceed though Defendant’s security line instead of
escorting the passengers to the TSA verification station. Mr. Bellaire and Mr. Ken LNU, an
MCO Security Officer, instructed Jones to cease the manual overrides.

22. Jones informed Defendant’s Chairman and CEO, Caryn Seidman-Becker and Mr.
Matthew Levine, General Counsel and Privacy Officer, of the incidents amd the directives issued
by Mr; Bellaire and Mr. Ken LNU.

23.  Seidman-Becker and Levine ordered Jones to disregard the TSA and MCO
directives and continue the practice of manual overrides.

24. On or about March 26, 2015 Mt. Bellaire observed that Defendant’s employees
were contiriuiiig to perform manual overrides even though he had instructed them to cease the
practice. That day, Mr. Bellaire questionéd Jonés. Jones. acknowledged their previous
conversation but had been instructed by Defendant's corporate: officers to continue processing
manual overrides.

25. Consequently, TSA opened an investigation into Defendant's violations of the
ASP,

26. Ina letter dated March 27, 2015 letter to Defendant, Bellaire wrote:

On March 26, 2015, at approximately 0530: hours, a TSA TDC observed Alclear
pérsonnel processing passengers whose RT verification resulted in [redacted] at
the RT verification station. TSA questioned your General Manager who

confirmed that Alclear personnel were continuing to. process passengers whose
RT verification process resulted in [redacted]. [Jones] informed TSA, that

 

1 Up until March 14, 2015 there was a process in place allowing Defendant’s employees to “override” a red reading.
However, a March 14, 2015 amendment to the security plan prohibited overrides and required Defendant's
employees to escort the passenger to TSA.
, although he was aware of the ASP requirements to modify or cease RT operations
when directed by the airport operator or TSA, he followed the direction of
Alclear’s corporate office to continue processing [redacted].

27. Subsequently, Jones received. a phone call from Seidman-Becker expressing her
displeasure with the contents of the March 27, 2015 letter, specifically the reference to Jones’
statement that he was following orders from the corporate office.

28. After Jondés blew the whistle on Seidmann-Becker and Levine, Defendant
launched a plan td terminate Jones.

29, In April, May and June 2015, Jones exceeded all performance expectations.
However, on Jply 28, 2015, despite record setting performance in the same month, Defendant
terminated Jones’ employment. No reason was provided.

RETALIATION IN-VIOLATION FSECTION 448.102

FLORIDA PRIVATE

   

30. Plaintiff ré-alleges paragraphs 1 to 29 as fully set forth herein.

31. Plaintiff held a good faith belief Defendant was violating a law, rule or regulation.

32. Plaintiff objected to Defendant's unlawful conduct.

33. Plaintiff participated in TSA’s investigation into Defendant’s violations of 49
U.S.C. § 1542, disclosing to TSA the unlawful directives issued by Defendant’s executives.

34. After Plaintiff objected to the unlawful conduct, Defendant retaliated against
Plaintiff by terminating his employment. .

35. The decision to terminate Plaintiff was causally linked to Plaintiff's objection to

Defendant’s unlawful conduct.

WHEREFORE, Plaintiff, ANDRE JONES, prays for the following damages against
ALCLEAR, LLC:
a. Back pay and benefits;

b, Interest on backpay; |

c. Front pay and/or lest earning capacity;
d. Compensatory damages;

e. Costs and attorney's fees;

f. For such other relief as the Court déemts equitable.

JURY TRIAL DEMAND
PLAINTIEF hereby demands a jury trial for all issues.

Dated: July 25, 2017

MORGAN & MORGAN, P.A.

, /s/ Marc R. Edelman
MARC R. EDELMAN, ESQ.

Fla. Bar No. 0096342
Morgan & Morgan, P.A.
201 N. Franklin Street, #700
Tampa, FL 33602
Telephone 813-223-5505
Fax: 813-257-0572

Email: Medelman@forthepeople.com
Attorney for Plaintiff
IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
IN AND FOR ORANGE COUNTY FLORIDA

. CIVIL DIVISION
ANDRE JONES,
Plaintiff,
ve
CASE NO::
ALCLEAR, LLC d/b/a CLEAR
Defendant.
/

 

PLAINTIFF’S FIRST REQUEST TO PRODUCE

Plaintiff, ANDRE JONES, by and through his undersigned attorney, requests the
Defendant, ALCLEAR LLC Wola, CLEAR to ‘produce the following documents for Plaintiff's
inspection and/or copying, within forty-five (45)-.days after the date of service hereof, at-the law’
offices of MORGAN & MORGAN, 201 N. Franklin Street, Suite 700, Taripa Florida 33602.

DEFINITIONS AND INSTRUCTIONS

The following definitions and instructions ate incorporated by reference wlieritver applicable in
this document.
1. The terms "you," "your," or "Defendant," as used herein, shall mean Defendant,
ALCLEAR LLC d/b/a, CLEAR. and its servants, agents, employees, representatives, divisions,
attorneys, and anyone else acting-on its behalf.
2. The term "person," or "persons," as-used herein, shall. include. any natural person,
partnership, firm, corporation, trust, association, joint venture, public entity, business:
organization, or other legal entity.

3. The term "Plaintiff," as used herein, shall mean Plaintiff, ANDRE JONES.
4. The term "document," or "documents," as used herein, shall mean the original, or a copy
of any kind, of written, typewritten, printed, or recorded material whatsoever, including, but not
limited to, notes, memoranda, letters, diaries, calendars, articles, telegrams or other
correspondence, worksheets, recordings, studies, analyses, opinions, books, reports,
transcriptions of recordings, information retrievable from computers, pictures, drawings,
photographs or other graphic representations, and any othet physical means of communication,
including tape recordings and magnetic tape. The term specifically includes any drafts, whether
or not used, of the foregoing, and any altered or annotated copies of the foregoing.
5.. The term "Complaint," as used ‘herein, shall mean the Complaint filed in this action.
6.. The term "personnel file," as used herein, shall include any and all records maintained
either in the normal course of biisitiess or for any special purpose with respect, to the application,
course of employment, and termination of any employee of’ Defendant, and specifically includes,
but is nat limited to, applications, disciplinary notices, performance evaluations, employment
histories or summaries, regords of residential addresses and telephone numbers, termination
notices, job assignment or classification records, compensation and other similar records. For
purposes of this. request, the term “personnel record” need not include records of medical
benefits, condition, or claims; designations of, or changes in, beneficiary; garnishments: income
tax records; or insurance benefits, except as pertaining to Plaintiffs records.
7. _Ifany document is withheld-wndet a claim of privilege or other protection, please provide
all of the following information with respect to any such document, so as to aid the Court and the
parties hereto in determining the validity. of the claim of privilege or other protection:

a. The identity of the person(s) who prepared the document, who signed the

document, and over whose name it was sent or issued;
b. The identity of the person(s) to whom the document was directed;

C. The natute and substance of the document, with sufficient particularity to enable
the Court and the parties thereto to identify the document;

d The date of the document;

& The identity of the person(s) who has (bave) custody of, or control: over, the

document arid each capy: thereof}

£ The identity of each person to whom a copy of the document-was furnished;

£. The number of pages of the document,

h. The basis on. which any privilege or other protection is claimed;

i, “Whether any non-privileged or non-protected matter is included in the docurtient.

DOCUMENTS REQUESTED.

Plaintiffs. entire personel file or any other doouments relating to Plaintiff or his

employment with Defendant, including but not limited to the terns and conditions. of
Plaintiff's, empleyment with Defendant, his position, duties, responsibilities, salary,
Bonuses, health insurance benefits, life insurance-benefits, and retirement benefits, and all
documents which Plaintiff may ‘have used or sighed as part of his employment with _
Defendant.

All documents relating to Plaintiff's performance as an employee for the year preceding
his fermination.

Ail documents relating to the reasons for Plaintiff’s termination/separation.

Any disciplinary memos or write ups of Plaintiff (if not contained within ‘his personnel

file).

All employee handbooks or policy manuals in effect during Plaintiff's employment,

Any and all emails or other electronic correspondence transmitted from or received by
Defendant related to Plaintiff's termination.
10.

i.

12.

13.

Any and all all emails sent from Plaintiff to Defendant’s management regarding
Defendant’s employees failing to follow security requirements.

Any and all emails or other electronic correspondence transmitted from or received by
Defendant related to Plaintiffs replacement at Orlando International Airport.

Any and all emails or other electronic correspondence transmitted from or received by
Defendant related to Plaintiffs role in the March 2015 TSA investigation at Orlando

International Airport.

Any and all notes, memoranda, letters or other document; electronic or otherwise, either
regeived.by or sent by officers, agents or employees of Defendant in which Plaintiff ‘was
named or referenced for any reason during his employment.

Any and all notes, memoranda, letters or other document, electronic dr otherwise, either
received by or sent by Matthew Levine or Karen Seidman in which Plaintiff was named
or referenced for any reason during his employient,,

Any and all company record retention policy documents.

Any and all insurance policies which may provide coverage for any of the claims raised
in.the Complaint.

CERTIBICATE OF SERVICE

THEREBY CERTIFY that on this 25” day of July 2017, a true and correct copy. of the foregoing
hasbeen furnished via process server to the Registered Agent for ALCLEAR LLC: Corporation
Service Company, 1201 Hays Street, Tallahassee, FL 32301

MORGAN & MORGAN, P.A.

és/ Marc Edelman

Mare R. Edelman, Esq.
Florida Bar No.: 0096342
Morgan & Moérgaii, P.A.
201 N. Franklin Street, #700
Tampa, FL. 33602

T: 813-223-5505

F: 813-257-0572

Medelman@forthepeople.com
Attomey for Plaintiff

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IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
IN AND FOR ORANGE COUNTY FLORIDA

CIVIL DIVISION
ANDRE JONES,
Plaintiff,
v.
‘ CASE NO.:
ALCLEAR, LLC d/b/a CLEAR,
Defendant.

PLAINTIFFS NOTICE OF SERVING EIRST SET OF
INTERROGATORIES TO DEFENDANT

Plaintiff, ANDRE JONES, by and through his undersigned attorneys gives Notice of
Service of Plaintiff's First Set of Interrogatories propounded to Defendant, ALCLEAR d/b/a
CLEAR (hereinafter, Defendant) tobe answered within forty-five (45) days of servios hereof.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 25" day of July 2017, q true and-correct copy‘of the foregoing
has been furnished via. process. server to the Registered Agent for ALCLEAR LLC: Corporatioit
Service Company, 1201 Hays Street, Tallahassee, FL 32361

MORGAN & MORGAN, P.A.

{si Mare R, Edelman

Marc R. Edelman, Esq.

Fla, Bar No. 0096342

Morgah & Morgan, P.A.

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Telephone $13-223-5505

Fax: 813-257-0572

Email: MEdelman@forthepeople.com
Attomey for Plaintiff
e

IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT

IN AND FOR ORANGE COUNTY FLORIDA

CIVIL DIVISION
ANDRE JONES,
Plaintiff,
Vv.
CASE NO.:
ALCLEAR, LLC d/b/a CLEAR ,
Defendant.

PLAINTIFFS FIRST SET OF
INTERROGATORIES TO DEFENDANT.

DEFINITIONS

The following apply to these interrogatories.

(A)
®)

(e)

(D)

“Plaintiff” refers to ANDRE JONES, Plaintiff in this action.

“Defendant” refers to ALCLEAR d/b/a CLEAR its officers, directors,
shareholders, agents, employees, representatives and all other persons acting or’
purporting to act on its Gebalf.

Your answers to the following interrogatories shall reflect and contditt the
knowledge of all persons referenced in “A” through “B” hereof who are presently
acting in the referenced capacity.

The term “document” or “documents” mean any and all. information. in. tangible
‘form atid shall include, without limiting the generality of the. foregoing, all letters,
telegrams, telexes, teletypes, correspondence, contracts, drafts, agreements, notes
to file, reports, memoranda, mechanical or electronic recordings of transcripts of
such recordings, blu¢prints, flow sheets, calendar: or diary entries, memoranda or
telephone or persona conversations, memoranda of meetings of: confetentes,
studies, reports, interoffice and intraoffice communications, quotations, offers,
inquiries, bulletins, circulars, statements, manuals, summaries, newsletters,
compilations, maps, charts, graphs, propositions, articles, announcements,
newspaper clippings, books, records, tables, books of account, ledgers, vouchers,
canceled checks, invoices, bills, opinions, certificates, promissory notes and other
)

(G)

evidence of indebtedness and all drafts and copies of documents as hereinabove
defined by whatever means made. If multiple copies of a document exist, each
copy which is in any was not completely identical to a copy which is being

‘produced should also be produced.

To “identify” a document shall mean to state with respect thereto:
1. The identity of the person who prepared it,
2. The identity of the person who sigitied it or in whose riame it was
issued;
3. The identity of each person to whom it was addressed or distributed;
4. The nature or substance of the document with sufficient particularity-to
enable to be identified;
5. Its date, and if it bears no date, the date when it was prepared;
6. The physical location of the document and the custodian or custodians
thereof.
The term “person” means any individual, corporation, partnership, joint venture,
group, association, body politic, governinent.agency, unit or other organization.
To “identify” a person ‘with reference to a itatural person, means to give his or her

‘name, his or her last known address, and if employed, the name.and address of his

or her employer and is or her job title or position. To identify a person who is not
an individual, means to state the name and principal office of such person.
The term “communication” refers to any transmission ot transfer of information
of any-kind, orally, in writing, electronically (including, but not limited to, emails,
text messaging, instant messaging, social media or similar methods or electronic
communication) or in any other manner at any time or plate, and under any
circumstances whatscevér;,
To “identify” an oral communication of equivalent language means to state with
respect thereto:
1, The identification of each person who participated in the oral
communication and each person who was present at the time it was made:
2. The date and place where such oral communication was made or took
place;
3. Whether the communication was made by face-to-face contact between
the persons, by telephone or other means;
4, The content and substance of what each person said; and

5. The identification of each document pertaining to each such oral
communication.

QJ) As used herein, “state” means:

i, To describe ‘specifically all circumstances, events and conversations
related to the subject matter of inquiry, including the date, place and
names and addressed of those persons present;

2. To list all witnesses baving knowledge of the subject matter of inquiry,
including the name, present address, position and relation to Plaintiff or -
Defendant, for each witness; and

3. To list all documents rélating to the subject matter of inquiry or in lieu.
thereof to attach-copies ofall such. documents.

INTERROGATORIES

Of answering for another person oP entity, answer-with respect to that person or entity, unless
otherwise stated.)
Identify all persons who prépdted or furnished information used in formulating the.
answers to these iiiterrogatories, their sources of information, and all documents and.
writings upon which they relied in ‘fotmulating such answers and if applicable, the
person’s official position or relationship with the party to whom the interrogatories .are
directed.

ANSWER:

Please identify all means and methods of internal communication (including, but not
limited to, memoranda, email, instant. messaging, text,messaging, social networking, etc.)
utilized by-all employees of Defendant from March 13, 2015 to present.

ANSWER:
5.

Please list the names and last known addresses arid phone numbers (if no longer
employed by Defendant) of all persons who supervised Plaintiff, in any capatity at any
time during Plaintiff's employment.

ANSWER:

Did you ever receive any complaints regarding. Plaintiff's job performance? If the answer
is yes, include the name of complainant, date and basis of complaint and any
investigation or discipline that resulted,

ANSWER:

Identify (as that term is defined above) all persons who participated in the decision to
terminate Plaintiffs employment ‘with Defendant.

ANSWER:

Please list each and every reason it was decided to terminate Plaintiff's employment with
Defendant,

ANSWER:
10.

Please provide the name(s); title(s) and current or last. known address(es), if no longer
employed by Defendant, of all persons whio: assisted in providing Defendant with
information that was used in Defendant’s. décision to terminate Plaintiff's employment
and provide with specificity the information that was provided by each such person.

SWER:

Identify all person(s), title(s} and current. of last known address(es), if no longer
employed by Defendant, whom Defendant believes have or may have knowledge
concerning the subject matter of this. action, the facts or allegations set forth in Plaintiff's
Complaint, or the defenses stated in Defendant’s Answer, and -desoribe. and state with
patticularity.and in detail the knowledge each such person is believed to posséss,

ANSWER

If-you allege that Plaintiff was terminated for violation -of company policy, please identify
any other employee of Deféndant who has engaged in substantially similar misconduct

-and.state whether-such employee was terminated or disciplined.

ANSWER:

Identify all documents which Defendant contends are relevarit to: the subject matter of
this action.

ANSWER
VERIFICATION

 

 

 

 

 

ALCLEAR LLC
By:
Affjant’s Signature
Printed Name:
Title:
STATE OF
CITY/COUNTY OF .
BEFORE ME, the undersigned authority, personally appeared , as

 

of ALCLEAR LLC who is authorized to act on behalf of the

 

company, who, ‘upon being first duly sworn, deposes and says that he or she has read the
forégoing Answers to Interrogatories and the same. are true and correct to the best of his ar her
knowledge and belief.

SWORN TO AND SUBSCRIBED before nie this. day of ,.2017..

 

‘NOTARY

 

Name of Notary, typed, printed or stamped

My Commission Expires:
